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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF   AMERICA,      )              CASE NO. 8:04CR422
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )
                                             )                    ORDER
KATHLEEN PALMA,                              )
                                             )
             Defendant.                      )


      This matter is before the Court on the Plaintiff’s oral motion to dismiss the Second

Superseding Indictment as against the Defendant, Kathleen Palma.

      IT IS ORDERED:

      1.     The Plaintiff’s oral motion to dismiss is granted; and

      2.     The Second Superseding Indictment is dismissed only as against the

             Defendant, Kathleen Palma.

      DATED this 6th day of December, 2005.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 United States District Judge
